Case 2:15-cv-11080-MOB-APP ECF No. 16-15, PagelD.445 Filed 04/07/15

LexisNexis”

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LEE M, KHAN, a/k/a LEE M. KAHAN, ! Plaintiff-Appellant, y CITY OF FLINT,
Defendant-Appellee.

1 Plaintiff's last name is spelled variously throughout the lower court record as
Khan and Kalian.

No, 293991

COURT OF APPEALS OF MICHIGAN

2010 Mich, App, LEXIS 2340

December 7, 2010, Decided

NOTICE: THIS IS AN UNPUBLISHED OPINION,
IN ACCORDANCE WITH MICHIGAN COURT OF
APPEALS RULES, UNPUBLISHED OPINIONS ARE
NOT PRECEDENTIALLY BINDING UNDER THE
RULES OF STARE DECISIS,

SUBSEQUENT HISTORY: Reversed by, Remanded by
Khan v. City of Flint, 2011 Mich. LEXIS 1369 ¢{Mich.,
Juby 29, 2071)

PRIOR HISTORY: [*1]
Genesee Circuit Court. LC No, 08-089357-CZ,

JUDGES: Before; MURPHY, CJ., and METER and
SHAPIRO, JJ.

OPINION
PER CURIAM.

Plaintiff appeals as of right from the order granting
summary disposition in favor of defendant pursuant to
MCR 2,.116(C)(7), (8), and (10). We affirm in part,
reverse in part, and remand for further proceedings,

I, BACKGROUND

Plaintiff owned a one-unit house that was damaged
by fire. Plaintiff reached an agreement with the property's
insurer about compensation but, before construction
started, defendant demolished the property, Plaintiff's
subsequent claim to the property's insurer was denied
because the damage to the property was the result of a
demolition and this type of damage was not covered
under the policy. Plaintiff brought suit against defendant,
claiming a violation of his constitutional rights to due
notice under the state and federal constitutions and
tortious interference with a contractual relationship.

After filing an answer to plaintiff's complaint and its
affirmative defenses, defendant sent plaintiff a set of
interrogatories, requests for admissions, and requests for
production. When plaintiff failed to respond to the
requests for admissions, defendant first sent a reminder
[*2] letter and then filed a motion asking the court to
deem as admitted the matters of those requests, 2 The trial
court granted this motion and found, among other things,
that "[p]laintiff was aware that [the property] was sel for
demolition before the demolition took place." The court
later granted summary disposition in favor of defendant,

2 Under MCR 2.312(BN1), each mailer as to
which a request for admissions is made is deemed
admitted unless the party to whom the request is

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directed files an answer or objection within 28
days.

II]. STANDARD OF REVIEW

We review de novo both a trial court's ruling on a
motion for summary disposition, Gillie v Genesee Ca
Treasurer, 277 Mich App 333, 344; 743 NW2d 137
(2007), as well as issues of constitutional law. in re
Carey, 241 Mich App 222, 226; 613 NW2d 742 (2000).
We view all the pleadings and the evidence in a light
most favorable to the nonmoving party when considering
a motion for summary disposition brought under A/CR
2,116(C) (10). Hines v Volkswagen of America, Ine, 263
Mich App 432, 437; 695 NW2d 84 (2005).

Ill. CONSTITUTIONAL CLAIMS 3

3 Although poorly drafted, plaintiff's petition
essentially alleges three claims: a 42 USC 1983
civil rights [*3] claim, a due process violation
under the Fourteenth Amendment, and a taking
claim under the Fifth Amendment. On remand,
the plaintiff shall be permitted to amend his
pleading to more specifically argue these claims
and how the facts meet the elements of each
claim, without prejudice to defendant's right to
bring motions for summary disposition should
discavery not provide support for plaintiff's
claims.

We must first decide whether the defendant's
employee's failures to. properly read the registry and
request a title search violated plaintiff's due process rights
under the state and federal constitutions, "The federal and
Michigan constitutions guarantee that persons may not be
deprived of life, liberty, or property without due process
of law." Hanlon v Civil Service Comm, 253 Mich App
710, 722; 660 NW2d 74 (2002), citing U.S. Const, Am V;
Const 1963, art I, § 17, The Michigan constitution
provides no greater due process protection than the
federal due process guarantee. Aagiish v Blue Cross Blue
Shield of Mich, 263 Mich App. 449, 459; 688 NW2d 523
(2004}, When evaluating a due process claim, courts are
to first determine "[wJhether any procedural protections
are due' and then decide [*4] [] 'what process is duc.”
Dow vy State of Michigan, 396 Mich 192, 203; 240 NW2d
450 (1976), quoting Morrissey v Brewer, 408 U.S. 471,
481; 92 § C12593, 33 L Hd 2d 484 (1972),

The US Supreme Court has determined that the

phrase "due process of law" entitles individuals whose
property interests are at stake to "notice and an
opportunity to be heard." Dusenbery v United States, 534
US. (61, 167; 122 § Ct 694; 15] L Ed 2d 397 (2002),
quoting United States y James Daniel Good Real
Property, 510 US, 43, 48; 114 S Ct 492; 126 L Ed 2d
490 (1993), When determining whether the notice given
is sufficient for due process purposes, courts are to
determine whether the notice was "reasonably calculated,
under all the. circumstances, to apprise interested parties
of the pendency of the action and afford them an
opportunity to present their objections.” fd at 168,
quoting Mullane v Central Hanover Bank & Trust Co,
339 US, 306, 314, 319; 70S Ct 652; 94 £ Ed 863 (71950).
Due process does not require actual notice to an
interested party, only that the effort in giving notice be
reasonably calculated to apprise interested parties of the
action, Dusenbery, 534 US at 170-171, Lastly, the
fundamental [*5] requirements of due process are
satisfied if a party received actual notice. See divcekay
Co v Haske Constr Co, Inc, 180 Mich App 502, 506; 448
Ni¥2d 43 (1/989); see also Reenders v Parker, 217 Mich
App 373, 376; 551 NW2d 474 (1996),

In this case, plaintiff failed to timely respond to
defendant's requests for admissions and the court deemed
admitted that "[p}laintiff was aware that [the property]
was set for demolition before the demolition took place."
We agree with the trial court that the admission
establishes that plaintiff had actual notice of a planned
demolition. However, nothing in the record indicates that
plaintiff had notice of his right to a hearing, let alone
when, where, or how to request such a hearing,

As due process has been interpreted to
require both "notice" and "hearing," the
absence of either will result in a denial of
due process, hence, an unlawful taking. It
is important to recognize that for notice to
be effective, it is necessary that the notice
be given not only as to what is to be (or
has been) decided (,¢,, the determination
of plaintiffs house to be a nuisance and
the decision to demolish it) but also notice
as to when and where the hearing is going
to [*6] take place regarding said issues,
including what, if anything, must be done
to demand such a hearing. To omit the
latter would certainly destroy the whole
purpose of a hearing--providing one with

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an opportunity before the taking of his
property to defend, protect and enforce his
tights. [Gefios v Lincoln Park, 39 Mich
App 644, 651-652; 198 NW2d 169
(1972),]

Because plaintiffs actual notice of the demolition was not
sufficient to constitute the notice required for due
process, the trial court erred in granting summary
disposition of plaintiffs claims to defendant under MCR
2,1 /6(C)(8) on that ground.

Furthermore, in Sidun v Wayne Co Treasurer, 481
Mich 503, 514-515, 731 NW2d 453 (2008), our Supreme
Court held:

If the government provides notice by
mail, due process requires it to be mailed
to an "address reasonably calculated to
reach the person entitled to notice." Dow
[v Michigan, 396 Mich 192.) 21i[; 240
NW2d 450 (1976)/. The address
"reasonably calculated to reach
[plaintiff]," a person who was entitled to
notice, was her home address that was
listed on the recorded deed in defendant's
possession. Because defendant had
plaintiffs address at hand, but failed to
mail notice to her [*7] at that address,
defendant failed to accord plaintiff
minimal due process,

Here, the record indicates that defendant had plaintiff's
address but failed to mail him notice, which under Sidun
is a violation of due process. Accordingly, we conclude
that plaintiff's due process claims survived summary
disposition,

Nevertheless, we conclude that summary disposition
as to plaintiffs claim under the Michigan Constitution
was appropriate because defendant, as a municipality,
cannot be sued for violations of the state constitution,
since a plaintiff may pursue other remedies against a
municipality, Jones v Powell, 462 Mich 329, 333, 337;
612 NW2d 423 (2000). Thus, because the trial court
reached the right result, albeit for the wrong reasen, we
affirm the dismissal of plaintiffs claim under the
Michigan Constitution. Hess v Cannon Twp, 263 Mich
App 582, 596; 696 NW2d 742 (2003),

As for plaintiffs 42 USC 1983 claim against
defendant City, we agree with defendant that this claim
may not be based simply upon the fact that the clerk who
sent the notice to the wrong location was an employee of
the City. "[A] municipality cannot be held liable solely
because it employs a tortfeasor... a municipality [*8]
may not be held liable under § 1983 on a respondeat
superior theory." Monell vy Depariment of Social
Services, 436 U.S, 658, 691; 98S Ct 2018, 2036; 56 L Ed
2d 611 (1978) (emphasis in original), Rather, to establish
municipal liability, the plaintiff must establish that the
actions of the employee giving rise to the constitutional
violation were taken in conformity with or in furtherance
of an "unconstitutional municipal policy which policy can
be attributed to a municipal policymaker." Oklahoma
City v Tuttle, 471 U.S, 808, 823-824, 103 S Ct 2427,
2436; 85 L Ed 2d 791 (1985). Indeed, where the
employee is adhering to an official policy, even a single
instance of unconstitutional activity may be sufficient to
impose municipal liability. Jd; Pembrauer v City of
Cincinnati, 475 US. 469, 478-480; 106 8 Ct 1292; &9 L
Rd ad 452 (1986), "But where the policy relied wpon is
not itself unconstitutional, considerably more proof than
the single incident will be necessary in every case to
esiablish both the requisite fault on the part of the
municipality, and the causal connection between the
‘policy’ and the constitutional deprivation." Tuttle, 471
U.S. at 824 (footnote omitted).

In its response [*9] to the summary disposition
motion, plaintiff submitted an affidavit from a member of
the City Council indicating that although the city had had
a procedure in place to assure that proper nofice was
provided before any demolitions occurred, the mayor at
the time of the instant events had adopted a policy that
that procedure was no longer to be followed. The mayor
is an ultimate decisionmaker whose policies can be
attributed to the ily. See Board of County
Commissioners of Bryan County v Brawn, 320 US. 397,
405; 117 8 Ct 1382; 137 L Ed 2d 626 (i997). If the
mayor's alleged action is shown to be the cause of the
City employee's failure to provide proper notice, then
municipal liability may be properly found.

Defendant asserts that a single constitvtional
violation can never be the basis for a § 7983 claim
against a municipality. We disagree. In, Brown the Court
held that the issue is not how often the constitutional
deprivations occur, but whether there is a "direct causal
link between the municipal action and the deprivation."

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Brown, 520 U.S. at 404, Thus, if the policy purportedly
created by the mayor was the cause of the employee's
actions in failing to provide notice, then municipal [*10]
liability arises, If the plaintiff fails, however, to
demonstrate that the mayor had adopted such a policy
and that the employee's actions followed from that policy,
then no municipal liability arises. 4 Defendant cites
federal cases where several discrete incidents of
constitutional violations have been held not to amount to
a custom or policy, However, in those cases, the only
evidence of the custom was the existence of these

discrete incidents. In the instant case, there is an affidavit
from a council person attesting to a decision by the mayor
to adopt such a policy.

4 Defendant has suggested that in such a
situation, plaintiff would not be deprived of a
remedy as he could still bring claims against the
employee herself.

Accordingly, there was a question of fact whether the
failure to provide notice to the plaintiff was the result of
an unconstitutional municipal policy, precluding
summary disposition of plaintiff's § /983 claim,

T¥. TORTIOUS INTERFERENCE

Plaintiff next argues that defendant's actions
constituled tortious interference with a contract 9 and
contends that he set forth the requisite pleadings and
evidence concerning this claim when he provided proof
that his second claim [*11] to the property's insurer was
denied and alleged that defendant acted with bad faith
when it deprived him of notice of the demolition, ®
However, plaintiff did not overcome defendant's
affirmative defense of governmental immunity, Although
plaintiff correctly argues that the doctrine of
governmental immunity does not grotect a defendant
while engaging in proprietary functions, there was no
evidence that showed defendant pursued demolition
activities for the primary purpose of producing 4
pecuniary profit, See Herman v City of Detroit, 261 Mich
App idi, 145; 680 NW2d 71 (2004), Therefore, the trial
court properly granted summary disposition of this claim
under MCR 2./16(C)(7) on the ground of governmental

immunity.

5 The elements of tortious interference with a
contract are: (1) the existence of a contract; (2) a
breach of the contract; and (3) an unjustified
instigation of the breach by the defendant. Health
Call of Detroit v Atrium Home & Health Care
Services, Inc, 268 Mich App 83, 89-90; 706 NW2d
843 (2005).

6 See CMI Intern, {nc v Intermet Intern Corp,
251 Mich App 125, 131; 649 NW2d 808 (2002)
(one who alleges tortious interference with a
contractual or business relationship must allege
[*£2] the intentional doing of a per se wrongful
act or the doing of a lawful act with malice).

V. REMAINING CLAIMS

Finally, plaintiffs arguments concerning the claims
of trespass-nuisance and uncompensated taking were not
alleged in his complaint nor adjudicated at the trial level.
Therefore, they were not preserved for appellate review,
and we decline to address them for the first time on
appeal, See Lanigan v Huron Valley Hosp, Inc, 282 Mich
App 558, 569-370; 766 NW2d 896 (2009), However,
nothing in this opinion shall preclude plaintiff from filing
a motion to amend to include these claims on remand.

VI, CONCLUSION

We affirm the trial court's grant of summary
disposition as to plaintiffs claim under the Michigan
Constitution as wel! as his tortious interference claim, but
reverse the trial court's grant of surmmary disposition as to
plaintiffs claims under the US Constitution, and remand
for further proceedings not inconsistent with this opinion,
We do not retain jurisdiction. No costs, neither party
having prevailed in full. MCR 7.219,

‘s/ William B, Murphy
/sf Patrick M. Meter

/sf Douglas B, Shapire

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LEE M, KHAN, a/k/a LEE M, KAHAN, Plaintiff-Appellee, y CITY OF FLINT,
Defendant-Appellant.

SC: 142324

SUPREME COURT OF MICHIGAN

490 Mich, 851; 800 N.W.2d 600; 2011 Mich, LEXIS 1369

July 29, 2011, Decided

SUBSEQUENT HISTORY: Reconsideration denied by
Khan v, City of Flint, 2012 Mich, LEXIS 22 (Mich., Jan.
25, 2012)

PRIOR HISTORY: [***1]

COA; 293991, Genesee CC: 08-089357-CZ,
Khan v, City of Flint, 2010 Mich, App. LEXIS 2340
(Mich. Ct App., Dee. 7, 2010)

JUDGES: Robert P. Young, Jr., Chief Justice. Michael
F, Cavanagh, Marilyn Kelly, Stephen J. Markman, Diane
M. Hathaway, Mary Beth Kelly, Brian K. Zahra, Justices,
MARILYN KELLY, J. (dissenting), HATHAWAY, J,,
would grant leave to appeal.

OPINION

{*851| [**600] Order

On order of the Court, the application for leave to
appeal the December 7, 2010 judgment of the Court of
Appeals is considered and, pursuant to MCR 7,302(E0 (1),
in licu of granting leave to appeal, we REVERSE that
part of the Court of Appeals judgment addressing
plaintiffs federal constitutional claim. The Genesee
Circuit Court correctly granted summary disposition of
this claim, and we agree with that court's reasons for
doing so, as stated on the record, Plaintiffs complaint
makes no mention of 42 USC 1983, which is the
exclusive remedy for alleged federal constitutional

violations, including those pertaining to the deprivation
of due process under the Fourteenth Amendment, Monell
v, Dep't of Soc. Servs., 436 U.S, 658, 663, 98S, Ct 2018,
561, Ed. 2d 611 (1978}, nor does it allege that the injury
here was caused by the city's "policy or custom."
Oklahoma City v Tuttle, 471 U.S, 808, 823-824; 105 8.
Ct 2427; 85 L. Ed. 2d 791 (1985). Further, plaintiff's
complaint [***2] makes no mention of the federal and
state "takings" clauses, Finally, plaintiff has admitted
{possibly in error) that he had actual notice of the
demolition, yct has undertaken no steps to set aside this
admission, Therefore, we REMAND this case to the
Genesee Circuit Court for reinstatement of the order
granting summary disposition to the defendant,

DISSENT BY; Marilyn Kelly

DISSENT
MARILYN KELLY, J. (dissenting).

I would deny leave to appeal. I believe the Court of
Appeals was correct that a jury question exists in this
case concerning whether plaintiff's constitutional rights
were infringed.

Plaintiff was entitled to due process of law before the
city demolished his property. The city was. required to
give him notice of the planned demolition "reasonably
calculated, under all the circumstances, to apprise [him]
of the pendency of the action and afford [him] an

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490 Mich. 851, *851; 800 N.W.2d 600, **600;
2011 Mich, LEXIS 1369, ***2

apportunity to present [his] objections.""! Thus the twa
due process requirements that the city had to meet were
(1) notice and (2) an opportunity to be heard. The city has
acknowledged that it never gave plaintiff notice, and in
fact it disciplined the employee whose responsibility it
was to give him notice for neglect of her duty.

| Dusenbery v United States, 534 U.S. 161, 168;
122 8, Ct, 694; 151 L. Bd, 2d 597 (2002), [***3]
quoting Mullane v Central Hanover Bank & Trust
Co, 339 US. 306, 314; 70'S. Ct 652; 94 L, Ea.
865 (1950),

A legal fiction has allowed the city to claim that
plaintiff received the notice he never had, It arose from
plaintiff's failure to answer a request for admissions. The
request asserted that plaintiff had timely notice of the
demolition, In accordance with the court rules, the court
deemed the notice admitted.

[*852] The city contends that plaintiff had actual
notice.2 "Actual notice” is defined as "[nJotice given
directly to, or received personally [**601] by a party."?
What occurred in this case was at best constructive
notice.’ It did not meet the requirements of dus process, I
can find no caselaw, and the city identifies none, that
treated constructive notice as adequate to establish actual
notice and avoid the need for the opportunity for a
hearing.* Because plaintiff was not given notice and he
had no actual notice, he was never given a hearing. He
was never even informed how to request a hearing.® If for
no other reason than that the city failed to satisfy the
hearing requirement of due process, it was inappropriate
for the court to dispose of this case through summary
disposition.

2 ~The "{fjundamental requirements of [***4]
due process are satisfied if a party received actual
notice." Gillie v Genesee Co Treasurer, 277 Mich
App 333, 356; 745 NW.2d 137 n 12 (2007);
United States v Boudreau, 564 F3d 431, 438 (CA
6, 2009).

3. Black's Law Dictionary (8th ed), p 1090.

4 "Constructive notice" is defined as "notice
presumed by law to have been acquired by a
person and thus imputed to that person," fd,

5 The city cites several inapposite cases, But in
each, the party had authentic actual notice. As a
consequence, none of them sheds light on the type
of notice that exists in this case. The cases are:
Gillie, 277 Mich App at 354-356 (The defendant

continued to send tax bills to a home owned by
the plaintiff, although the plaintiff had asked the
defendant to use his new out-of-state mailing
address, The house ended up in foreclosure and
the defendant posted a foreclosure notice on the
home. The court made no finding about whether
this constituted adequate notice. It simply stated
the requirements for due process and that, if
actual notice is found, that is sufficient for due
process.); Boudreau, 564 F3d at 438 (The
defendant was served notice in open court,
Despite his assertion that this was not in
compliance with the applicable statute, [***5] the
court found that he had actual notice); City of W,
Covina v. Perkins, 525 US. 234, 241, 179 8. Ct
678, 142 L. Ed 2d 636 (1999) (The property
owner actually knew his property had been seized,
thus this was actual notice.); Whiting v United
States, 231 F3d 70, 74 (CA 1, 2000) (Forfeiture
proceedings had been discussed in the owner's
presence, thus this was actual nofice.),; United
States v Williams, 41 F Supp 2d 745, 747 (ND
Ohio, 1998) (This case dealt only with the
statutory notice requirements for federal tax
liens.).

6 Khan v City of Flint; unpublished opinion per
curiam of the Court of Appeals, issued December
7, 2010 (Docket No, 293991), p 3, 2010 Mich.
App. LEXIS 2340.

The majority believes that the case was properly
dismissed because plaintiff failed to cite 42 USC 1983 in
his complaint or to allege that the injury had been caused
by the city's "policy or custom." But neither of these was
required.? Moreover, plaintiff's decision not to seek to
have the [*853] admissions set aside is not grounds for
refusing appellate relief, Plaintiff did not admit, even
constructively, that he was provided the opportunity for a
hearing,

7 MCR 2.111(8) requires only that

ja] complaint... contain. ..:

(1) [a] statement of facts...
on which the pleader relies [***6]
in stating the cause of action, with
the specific allegations necessary
reasonably to inform the adverse
party of the nature of the claims

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490 Mich, 851,.*853; 800 N.W.2d 600, **601;
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the adverse party is called on the
defend; and

(2) [a] demand for judgment. .

Aft page 3 of the complaint, plaintiff alleged a Fifth
Amendment constitutional violation, He recited the
language of the amendment and asserted that defendant
had "wrongfully and intentionally deprived [him] of his
property without notice or a hearing." Our court rules
require that a complaint set forth “allegations necessary
reasonably to inform the adverse party of the nature of
the claims the adverse party is called on to defend[.]"8
While MCR requires that certain claims be pleaded with
particularity, a § 7983 claim is not among them. And
Michigan has no rule thal requires a plaintiff to cite a
specific statutory provision in order to state a claim.?

8 MCR 2111 (BCL),
9 See Rymal v Baergen, 262 Mich App 274, 301;
686 N.W2d 241 0 6 (2004),

[**602] While I acknowledge that plaintiffs
complaint in this case was not drafted in the most
masterful fashion, it contained the minimum required
information. Obviously the city was not confused about
what it had to defend against. Given that it responded
[***7] to plaintiffs claim with a motion to dismiss the §
{983 claim, we know that it understood what statute
plaintiff relied on. In the event the city had found the
complaint to be ambiguous or too vague, it could have
moved under MCR 2.//5(4) for a "more definite
statement... ."/8

10 MCR 2./15fA) states; "If a pleading is so
vague or ambiguous that il fails to comply with
the requirements of these rules, an opposing party
may move for a more definite statement before
filing a responsive pleading.” See also fron
County v. Sundberg, Carolson & Assocs, 222
Mich, App. 120, 124-125, 564 N.W2d 78 (1997).

In addition, it is well established that our courts lock
beyond mere procedural labels and read the allegations in
a complaint as a whole to ascertain the nature of a
claim.11 That plaintiff stated a § /983 claim is apparent
from the fact that both lower courts analyzed it as such.

li Tipton v William Beaumont Hosp, 266 Mich

App 27, 33; 697 NW.2d 552 (2005); see also
MacDonald vy Barbaratio, 161 Mich App 542,
547; 411 NW2d 747 (1987); Sinith v Holmes, 54
Mich 104, 112; 19 NW. 767 (1884).

Moreover, under our court rules, a complaint is not
required to assert that the city violated its "policy or
custom." [***8] The complaint is not [*854] designed
to narrow the issues,!2 The narrowing is accomplished
through "discovery, pretrial conference, and summary
judgment, combined with liberal amendments to
pleadings, fwhich] are designed to carry the burden of
framing the particular issues to be tried."!9 In this case,
there was an outstanding issue of fact as to whether the
city violated its policy.!4

12 Simonson v Mich Life Ins Co, 37 Mich App
79, 83; 194 NW 2d 446 (1971); Goins v Ford
Motor Co, 131 Mich App 185, 195; 347 NW 2d
184 (1983).

13. Simonson, 37 Mich App at 83; see also Goins,
13] Mich App at 195,

14 The city based its motion for summary
disposition in part on its claim that it had not
violated its policy about giving notice. In
response, plaintiff submitted an affidavit of
Councilwoman Jacqueline Poplar, which asserted
that the mayor typically violated the cily’s policy
in matters of this sort.

If necessary, the trial court could have allowed
plaintiff to amend the complaint, MCR 2.178f4)(2)
provides that leave to amend pleadings should be frecly
given when justice requires it. In fact, it should be denied
only for particularized reasons.!5 This Court has justified
the denial of amendments for reasons such as undue
delay, bad faith, [***9] repeated failure to cure
deficiencies by amendment, undue prejudice, or where
amendment would be futile.6 Otherwise amendment
should be freely allowed.

15 See Miller v Chapman Contracting, 477 Mich
102, 105; 730 N.W.2d 462 (2007), citing Ben P
Fyke & Sons v Gunter Co, 390 Mich 649; 213
NW 2d 134 (1973); see also MCR 2.118 (A).

16 Miller, 477 Mich at 105, citing Ben P Fryke,
390 Mich 649; 213 N.W.2d 134.

Summary disposition was inappropriate in this case,
and the reasons the majority has given for refusing to
reverse it and rejecting the Court of Appeals! decision

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[**603] are inconsistent with the law. For these reasons, HATHAWAY, J,, would grant leave to appeal.
I respectfully dissent.

